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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


MELANIE MOORE,

              Plaintiff,

v.                                                   Case No. 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC., d/b/a
Petland, and LUIS MARQUEZ,

              Defendants.
                                           /


                                           ORDER

       This matter comes before the Court upon Plaintiff’s Motion to Disqualify Defendants’

Counsel (Doc. 18). Defendants filed a Response in Opposition thereto (Doc. 20). Upon

consideration, the Court finds that the motion is without merit.

       A motion to disqualify an attorney is governed by two sources: the local rule of the

court in which he or she appears and federal common law. Herrmann v. GutterGuard, Inc., 199

F. App’x 745, 752 (11th Cir. 2006). “If a district court bases its disqualification order on an

allegation of an ethical violation, ‘the court may not simply rely on a general inherent power

to admit and suspend attorneys, without any limit on such power.’” Id. (citation and

quotations omitted). Instead, the court must “clearly identify a specific Rule of Professional

Conduct which is applicable to the relevant jurisdiction and must conclude that the attorney

violated that rule.” Id. The local rule that governs this Court applies the Florida Rules of

Professional Conduct to all members of the Bar of this Court. See L.R. 2.04(c), M.D. Fla.
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       Attorney disqualification is a “harsh sanction” that is “resorted to sparingly.”

Herrmann, 199 F. App’x at 752 (citation omitted). This is “because a party is presumptively

entitled to the counsel of his choice,” and only compelling reasons can overcome that

presumption. In re Bellsouth Corp., 334 F.3d 941, 961 (11th Cir. 2003). The party moving to

disqualify bears the burden of proving “compelling reasons” for disqualification. Id. Courts

view motions for disqualification with skepticism because they not only infringe on the

freedom to choose counsel but can also be employed for tactical advantages. Herrmann, 199

F. App’x at 752.

       Plaintiff, proceeding pro se, alleges Defendants’ counsel has a conflict of interest in

violation of Rule 4-1.7 “Conflict of Interest; Current Clients”; has engaged in various acts of

misconduct in violation of Rule 4-4.1 “Truthfulness in Statements to Others,” Rule 4-3.1

“Meritorious Claims and Contentions,” and Rule 4-8.4 “Misconduct”; and will be called as

a witness by Plaintiff thereby prohibiting Defendants’ counsel from representing Defendants

as set forth in Rule 4-3.7 “Lawyer as a Witness.” See R. Regulating Fla. Bar 4-1.7, 4-3.1, 4-

3.7, 4-4.1, and 4-8.4. Plaintiff, however, fails to carry her burden on any of these bases.

       Conflict of Interest

       Plaintiff argues that Defendants’ counsel has a personal interest in this case that gives

rise to an impermissible conflict of interest. With strained logic, Plaintiff asserts that a finding

against Defendants in the instant action will implicate opposing counsel as he is the attorney

that filed Defendants’ tangentially-related defamation action (“Defamation Action”) against

Plaintiff in violation of Rule 4-3.1, which prohibits an attorney from bringing a proceeding

without a basis in law and fact. Although the Defamation Action is included in the facts set




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forth in the instant complaint, this speculative scenario does not satisfy the burden of proving

a compelling reason for disqualification.

       Misconduct

       This category of allegations is even more difficult for the Court to quantify. Plaintiff

takes issue, for example, with Defendants’ counsel’s response to Plaintiff’s demand letter. In

their response, Defendants assert that Plaintiff was employed by Defendants in a capacity

other than the one she alleged and for hours in an amount other than the amount she alleged.

The misconduct asserted here is that Defendants’ counsel misrepresented these facts because

counsel must have known that Plaintiff’s version of the facts were accurate. Plaintiff also

alleges a collusion between her previous counsel and Defendants’ counsel that resulted in her

counsel withdrawing and precluded her from being able to retain new counsel. Again, these

allegations are based solely on speculation and do not constitute a compelling reason for

disqualification.

       Defendants’ Counsel as a Witness

       Rule 4-3.7(a) provides:

       When Lawyer May Testify. A lawyer shall not act as advocate at a trial in which the
lawyer is likely to be a necessary witness on behalf of the client unless:

       (1) the testimony relates to an uncontested issue;

       (2) the testimony will relate solely to a matter of formality and there is no reason to
       believe that substantial evidence will be offered in opposition to the testimony;

       (3) the testimony relates to the nature and value of legal services rendered in the case;
       or

       (4) disqualification of the lawyer would work substantial hardship on the client.

R. Regulating Fla. Bar 4-3.7(a) (emphasis added). Rule 4-3.7 “‘generally is not implicated

when a party does not intend to call its own lawyer as a witness’ because the plain language

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of the Rule states that the attorney is acting as a witness on the client’s behalf.” Lancaster v.

Harrow, No. 8:17-cv-634-T-33JSS, 2018 WL 1274754, at *2 (M.D. Fla. Feb. 21, 2018)

(quoting Pharma Supply, Inc. v. Stein, No. 14-80374-CIV, 2014 WL 4261011, at *5 (S.D. Fla.

Aug. 28, 2014)), report and recommendation adopted sub. nom., 2018 WL 1242240 (M.D. Fla.

Mar. 9, 2018). Moreover, this rule “was not designed to permit a lawyer to call opposing

counsel as a witness and thereby disqualify him as counsel.” Snipes v. Volusia Cnty., 6:14-cv-

413-Orl-28TBS, 2014 WL 2722354, at *3 (M.D. Fla. June 16, 2014) (quoting Arcara v. Philip

M. Warren, P.A., 574 So.2d 325, 326 (Fla. 4th DCA 1991)). However, a conflict requiring

disqualification may arise if one party calls opposing counsel as a witness and counsel’s

testimony is adverse to his client’s position. Steinberg v. Winn-Dixie Stores, Inc., 121 So.3d 622,

625 (Fla. 4th DCA 2013).

       Defendants represent that their counsel does not have any firsthand knowledge of any

underlying facts or issues in this case nor do they plan to call their counsel as a witness. While

Plaintiff states that she will be calling opposing counsel as a witness, she has not established

that he is a necessary witness or that his testimony would be adverse to Defendants. See

AlliedSignal Recovery Tr. v. AlliedSignal, Inc., 934 So.2d 675, 680 (Fla. 2d DCA 2006) (quashing

an order disqualifying counsel because no showing that opposing counsel’s testimony would

be sufficiently adverse to his client’s interests). As such, Plaintiff has not met her burden of

demonstrating circumstances that are compelling enough to override the presumption that

Defendants are entitled to counsel of their choice.

       Accordingly, it is hereby ORDERED:

       Plaintiff’s Motion to Disqualify Defendants’ Counsel (Doc. 18) is DENIED.




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      ORDERED in Tampa, Florida, on January 22, 2021.




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